Case 6:15-cr-00080-DEW-PJH      Document 172      Filed 01/25/17   Page 1 of 2 PageID #:
                                       519



                      UNITED STATES DISTRICT COURT

                     WESTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                      *CRIMINAL NO. 6:15-0080-03

 VERSUS                                        *JUDGE WALTER

 KARL DEVON RECARD                             *MAGISTRATE JUDGE HANNA


                 REPORT AND RECOMMENDATION
                     ON FELONY GUILTY PLEA
           BEFORE THE UNITED STATES MAGISTRATE JUDGE

       Pursuant to Title 28, United States Code, Section 636(b), and with the written

 and oral consent of the defendant, this matter has been referred by the District Court

 for administration of Guilty Plea and Allocution under Rule 11 of the Federal Rules

 of Criminal Procedure.

       This cause came before the undersigned United States Magistrate Judge for a

 change-of-plea hearing and allocution of the defendant, Karl Devon Recard, on

 January 12, 2017. The defendant was present with his counsel Randal P. McCann.

       After the hearing and for the reasons orally assigned, the undersigned finds that

 the defendant is fully competent, that his guilty plea is knowing and voluntary, and

 that his guilty plea to Count One of the Superceding Indictment is fully supported by

 a written factual basis for each of the essential elements of the offense.
Case 6:15-cr-00080-DEW-PJH    Document 172     Filed 01/25/17   Page 2 of 2 PageID #:
                                     520



       Therefore, the undersigned United States Magistrate Judge recommends that

 the District Court ACCEPT the guilty plea of the defendant, Karl Devon Recard, in

 accordance with the terms of the plea agreement filed in the record of these

 proceedings, and that Karl Devon Recard be finally adjudged guilty of the offense

 charged in Count One of the Superceding Indictment.

       The defendant waived the fourteen day period within which to file written

 objections to this Report and Recommendation. Accordingly, the District Court may

 immediately adopt this Report and Recommendation, thereby accepting the

 defendant's guilty plea.

       THUS DONE AND SIGNED in chambers in Lafayette, Louisiana, on this the

 25th day of January 2017.


                                      ____________________________________
                                      PATRICK J. HANNA
                                      UNITED STATES MAGISTRATE JUDGE




                                        -2-
